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 Attorneys for Plaintiff

                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK

                                                        Civil Action No.:
 AARON KATZ,

                                 Plaintiff,
        vs.                                             COMPLAINT FOR VIOLATIONS OF THE
                                                        FAIR CREDIT REPORTING ACT

 EXPERIAN; HYUNDAI CAPITAL
 AMERICA
                                                        DEMAND FOR JURY TRIAL
                                 Defendant.


        Plaintiff Aaron Katz (“Plaintiff”) brings this Complaint against defendants Experian, and

 Hyundai. (“Defendant” of “Defendants”), and alleges, based upon Plaintiff’s personal knowledge,

 the investigation of counsel, and information and belief, as follows:

                                     NATURE OF THE ACTION

        1.        This is an action to recover damages for violations of the Fair Credit Reporting Act,

 15 U.S.C. § 1681, et seq. (the “FCRA”). Defendants have been reporting inaccurate account status

 information about Plaintiff’s Hyundai Account. Specifically, although the account has always

 been paid on time and in full, Defendants reported the account has late payments.

        2.        Although Plaintiff disputed the reporting in writing, Defendants failed to correct

 the reporting.




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        3.      Defendants failures to remove the inaccurate account status has damaged and

 continues to damage Plaintiff by preventing him from being approved for financing and obtaining

 credit at the most favorable market rates. Plaintiff has also been forced to deal with the aggravation

 and humiliation of a poor credit score. Accordingly, Plaintiff is entitled to damages.

                                              PARTIES

        4.      Plaintiff resides in Staten Island, NY, and qualifies as a “consumer” as defined and

 protected by the FCRA.

        5.      Defendant Experian is a foreign corporation headquartered at 475 Anton Blvd.,

 Costa Mesa, CA.

        6.      Defendant Hyundai Capital America is a foreign corporation headquartered at 4000

 Macarthur Blvd., Newport Beach, CA 92660.

        7.      All Defendants qualify as a “consumer reporting agency” under the FCRA.

                                   JURISDICTION AND VENUE

        8.      The claims asserted in this complaint arise under §1681e(b) and §1681i of the

 FCRA. This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §1331

 and 15 U.S.C. §1692k.

        9.      Venue is proper in this District under 28 U.S.C. §1391(b).

                                      STATEMENT OF FACTS

        10.      At the beginning of July, Mr. Katz returned his Elantra to the Hyundai dealership.

        11.     After inspecting the vehicle, Hyundai notified him that he would be assessed a two

 thousand dollar bill for two damaged headlights. The dealership informed that if he repaired them

 and provided a receipt proving it, Hyundai would not charge him for the damage.

        12.     So he went to his local mechanic and had the repair done.




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         13.     He provided a receipt and was told that the receipt mentions quantity 1, therefore

 they'll only wave one, unless he provided a corrected receipt showing that both headlights were

 repaired. He then sent a corrected receipt.

         14.     After explaining the situation to Hyundai in several phone conversations, he was

 told that he was right and they're waiving the whole amount. They also confirmed that as long as

 this matter is still being resolved, it will not affect his credit and his co-signers credit.

         15.     Every few days he would be harassed with phone calls about the matter to which

 he would respond by explaining the situation and they would ultimately agree. This kept on

 repeating itself even after speaking to managers.

         16.     To Plaintiff’s dismay, Hyundai reported this account as delinquent to Experian

 despite telling him that they wouldn’t.

         17.     Plaintiff disputed the delinquent account with Experian, but Experian did not

 remove it from his report.

                                                COUNT I

                                    AGAINST ALL DEFENDANTS

         18.     Plaintiff repeats and realleges the foregoing allegations as if set forth in full herein.

         19.     Defendants are liable for willfully, or at least negligently, failing to follow

 reasonable procedures to ensure the maximum possible accuracy of the account status information

 reported on Plaintiff’s Hyundai account, in violation of 15 USC §1681e(b)

         20.     Defendants are also liable for willfully, or at least negligently, failing to conduct a

 reasonable investigation to determine whether the disputed information was inaccurate and by

 reinserting the disputed information back into Plaintiff’s consumer report.




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        21.      Plaintiff is thus entitled to actual damages, statutory damages, punitive damages

 and attorney’s fees and costs.

                                      PRAYER FOR RELIEF

 WHEREFORE, Plaintiff demands a judgment:

    a) awarding Plaintiff statutory money damages, actual damages and punitive damages;

    b) awarding attorney’s fees and costs, and other relief; and

    c) awarding such other relief as to this Court may seem just and proper.

                                         JURY DEMAND

 Plaintiff demands a trial by jury.




 DATED: December 12, 2024                     ZAGHI LAW GROUP, PLLC.


                                              /s/Nisan Zaghi
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                CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

        Pursuant to Local Civil Rule 11.2, I hereby certify that the matter in controversy is not

 related to any other action, pending arbitration, or administrative proceeding currently pending in

 any court.

        I further certify under penalty of perjury that the statements made in this complaint are true

 and correct.




                                                              /s/ Nisan Zaghi____
                                                              Nisan Zaghi




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